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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14 B 27796
         Brian Douglas Walton, Sr.

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 07/30/2014.

         2) The plan was confirmed on 11/10/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
05/18/2015.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Dismissed on 11/03/2016.

         6) Number of months from filing to last payment: 27.

         7) Number of months case was pending: 34.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor                    $8,892.08
           Less amount refunded to debtor                                $532.00

 NET RECEIPTS:                                                                                            $8,360.08


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                        $3,991.00
     Court Costs                                                                      $0.00
     Trustee Expenses & Compensation                                                $321.52
     Other                                                                            $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                        $4,312.52

 Attorney fees paid and disclosed by debtor:                            $9.00


 Scheduled Creditors:
 Creditor                                              Claim         Claim            Claim       Principal      Int.
 Name                                        Class   Scheduled      Asserted         Allowed        Paid         Paid
 Advantage Auto Club                     Unsecured          90.00           NA              NA            0.00       0.00
 CDA/Pontiac                             Unsecured      1,255.00            NA              NA            0.00       0.00
 Chase Bank                              Unsecured         400.00           NA              NA            0.00       0.00
 City of Chicago Department of Revenue   Unsecured      3,500.00       7,111.12        7,111.12        571.91        0.00
 Comcast Cable                           Unsecured         700.00           NA              NA            0.00       0.00
 Commonwealth Edison                     Unsecured         584.00        584.00          584.00          46.97       0.00
 Dish Network                            Unsecured         177.00           NA              NA            0.00       0.00
 Dish Network                            Unsecured         206.00           NA              NA            0.00       0.00
 Eagle Accounts Group                    Unsecured         196.00        150.50          150.50          12.10       0.00
 Illinois Bell Telephone Company         Unsecured           0.00        337.48          337.48          27.14       0.00
 Illinois Tollway                        Unsecured         212.00           NA              NA            0.00       0.00
 Peoples Energy Corp                     Unsecured      1,000.00       1,423.71        1,423.71        114.50        0.00
 PLS Payday Loan Store                   Unsecured         300.00           NA              NA            0.00       0.00
 Robert J. Semrad                        Unsecured           0.00           NA              NA            0.00       0.00
 Sprint Corp                             Unsecured         690.00        690.18          690.18          55.51       0.00
 TCF National Bank                       Unsecured         200.00           NA              NA            0.00       0.00
 Union Auto Sales                        Secured        3,000.00       3,593.42        3,000.00      3,000.00     171.70
 Union Auto Sales                        Unsecured            NA         593.42          593.42          47.73       0.00
 Wow Cable                               Unsecured         276.00           NA              NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                     $0.00              $0.00             $0.00
       Debt Secured by Vehicle                            $3,000.00          $3,000.00           $171.70
       All Other Secured                                      $0.00              $0.00             $0.00
 TOTAL SECURED:                                           $3,000.00          $3,000.00           $171.70

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $10,890.41            $875.86              $0.00


 Disbursements:

         Expenses of Administration                             $4,312.52
         Disbursements to Creditors                             $4,047.56

 TOTAL DISBURSEMENTS :                                                                       $8,360.08


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 05/30/2017                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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